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                             United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

  UNITED STATES OF AMERICA                              §
                                                        §
  v.                                                    §   CRIMINAL NO. 4:17-CR-015-ALM-KPJ
                                                        §
  JOSEPH DAVID MODICA                                   §


                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On December 3, 2020, the Magistrate Judge entered proposed findings of fact and

 recommendations (Dkt. #60) that Defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of six (6) months, followed by twelve (12) months of supervised release

 imposed with previous conditions of release, with the first one hundred eighty (180) days of

 supervised release served in a residential facility.

         Having received the Report of the United States Magistrate Judge, and no timely objections

 being filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

 are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

 Accordingly, Defendant is hereby committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of six (6) months, followed by twelve (12) months supervised release

 imposed with previous conditions of release. The first one hundred eighty (180) days of release

 are to be served in a residential facility.

         IT IS SO ORDERED.
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SIGNED this 11th day of January, 2021.




                          ___________________________________
                          AMOS L. MAZZANT
                          UNITED STATES DISTRICT JUDGE




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